
Church, S.
The following facts have been agreed on by the parties: Carlos Schmidt was married in Germany on September 18, 1836. He lived with his wife for several years and left her in 1849 and came to America. On December 10, 1864, while his wife was living, he entered into a marriage ceremony with a widow named Maria Gleason; said Maria Gleason had two children, Thomas J. Gleason, the contestant, and Helen/ who has since married. While Carlos Schmidt’s wife was still alive, the administrator Ottokar H. D. Schmidt was born to said Carlos Schmidt and Maria Gleason on September 1, 1869. Carlos Schmidt’s wife died December 14, 1877.
Carlos Schmidt and Maria Gleason, from the datei of their *183marriage, lived together uninterruptedly as husband and wife, and were so regarded by all of their friends and acquaintances until the date of Carlos Schmidt’s death, on June 3, 1890. It appears that at one time, in conveying certain real estate, that said Maria Gleason, his wife, had joined with him in the deed, being described as his wife. After his death she applied for letters of administration upon his estate, as his widow, and the same were duly issued to her.
During the lifetime of said Carlos Schmidt, the suggestion that they were not husband and wife was never raised, and from the date of the death of said Carlos Schmidt said Maria Gleason was always known as his widow until her death on March 25, 1902.
Her son, by a previous marriage, Thomas J. Gleason, the contestant here, now comes forward with the contention, however, that because at the time of his mother’s marriage to Carlos Schmidt said Carlos Schmidt had a wife then living, that said marriage was absolutely void, and that, thereafter, his half-brother, Ottokar H. D. Schmidt, was not bom in lawful wedlock, but was illegitimate, and consequently is not entitled to share in their mother’s estate, but that the mother’s estate should be divided solely between the contestant and his sister, the children of the previous marriage to Gleason.
It does not seem possible that a person of any respectability would, for the sake of the slight pecuniary gain involved in this estate, be willing to stamp his brother as a bastard, and to have it judicially declared that his dead mother’s relations with a man she believed to be her husband were meretricious — but the courts have nothing to do with the sentimentality which should or should not prompt the parties before it, and notwithstanding that there may be a feeling of loathing for the man who would take a position such as this contestant, yet it is, nevertheless, the duty of the court to consider calmly the questions of law to be applied to the admitted facts here.
*184The facts in this case are substantially similar to those in the case of Townsend v. Van Buskirk, 33 Misc. Rep. 287, in which Justice Maddox held that even if the marriage between the partes thereto was void at the time, of the ceremony of marriage, yet if, after the death of the first wife, the parties continued to cohabit and lived together as husband and wife, that then the courts would presume that such cohabitation established a common-law marriage. I might well leave this case on the-well-considered opinion of Justice Maddox, but the counsel for the contestant has been so insistent that Justice Maddox has. overlooked certain decisions of the Court of Appeals that I have,, in addition to a careful examination of Justice Maddox’s opinion, examined all of the authorities upon this subject. The general proposition no doubt is correct, that where the relations-of the parties are improper and illicit, that then they are presumed to continue so, unless there is some specific fact disclosed to the court which warrants the court in drawing the conclusion that the relations have changed from being meretricious to those of husband and wife. The cases in which this contention has been advanced have been where the relations in their inception, were not contracted under any mistake as to the law or the facts,, but which were merely meretricious or lustful. The rule upon this matter was very well stated by Justice Maddox in Townsend v. Van Buskirk, supra, 290. “ There is, to my mind, a well-defined distinction between illicit relations, forbidden because-of an undisclosed disability on the part of one of the parties thereto, and such relations as are mutually meretricious, involving on the part of the woman knowledge that its character is not, and is not intended to be, matrimonial, but of a wanton and lustful nature.”
In the case at bar, the complete innocence and good faith of Maria Gleason in entering into the marriage relations with Carlos Schmidt stand conceded, and Carlos Schmidt, while a. wrongdoer in the sense that he married Maria Gleason when *185he ought not do so by reason of his previous wife still being alive, appears to have done so in good faith, and with proper intentions, because he remained constant and true to her down to the date of his death, and for thirteen years after the death of his wife they continued in every possible way to act as husband and wife. Because there was a disability which existed against their originally contracting this marriage, it does not seem possible that the court should blind its eyes to the thirteen years of life as husband and wife after the disability had been removed, and I shall, therefore, regard their relations during that time as establishing marriage as fully as if a perfect ceremony of marriage had taken place at some time during that period.
Counsel for the contestant refers at great length to the case of O’Grara v. Eisenlohr, 38 N. Y. 296, claiming that the case is decisive, and is contrary to the views of Justice Maddox. In my judgment that case does not touch upon the subject here under consideration at all. On the contrary, the main question in that case was the fact that the previous wife of the husband had disappeared. It was, therefore, contended that the court should presume that she had died before her husband, on the theory that the law will sooner presume that she had died first, which would have involved no wrong, than that which will presume that the respondent and her pretended husband were living together in adultery.
That that is the sole contention in the case is evidenced by the following paragraph from the opinion, at p. 302: “ It is contended in this case that the presumption of law is that Rose Donnery died before her husband, when the consequence of her being alive is, that the respondent in this case and Donnery were cohabiting and living together as man and wife without any lawful marital relations' existing between them.” This being the sole question decided, it is, therefore, not a matter which should be considered as controlling in making the decision herein.
*186The only other case cited by the contestant upon this branch of the subject is that of Foster v. Hawley, 8 Hun, 68. But that ease cannot be cited as in any way paralleling this. There the relations were concededly lustful in their origin. They were long continued, but were continued but a short time after the death of the man’s first wife. It also appears that the woman pretending to be the wife of the deceased, at the termination of their relations, left the deceased, and contracted a marriage with some other man..
The cases quoted by the contestant do not, therefore; in any way establish the incorrectness of Justice Maddox’s previous decision. On the other hand Justice Maddox’s decision is sustained by the ease of Fenton v. Reed, 4 Johns. 52; Rose v. Clark, 8 Paige, 574.
I shall, therefore, hold that assuming that the ceremony of marriage between Maria Gleason and Carlos Schmidt to have been absolutely void' in consequence of the fact that at that time Carlos Schmidt had a wife living; that as Carlos Schmidt subsequent to the death of his first wife cohabited with Maria Gleason, and they lived together as husband and wife, a marriage will be presumed to have taken place.
The act of 1895 (ch. 531), which was subsequently incorporated into the Domestic Relations Law (L. 1896, ch. 272, § 18), provided that if the parents of a child (who would otherwise be illegitimate), subsequently married, that such child would thereupon be deemed legitimate. The effect of such marriage is, therefore, to legitimatize the birth of the administrator herein, Ottokar H. D. Schmidt, and he is, therefore;, entitled to his distributive share of his mother’s estate.
Let decree be prepared accordingly, with costs to the administrator, to be paid by the contestant personally.
Decreed accordingly.
*187NOTE ON PRESUMPTION OF MARRIAGE FROM COHABITATION.
GENERALLY.
Marriage may be inferred from the acts and declarations of the parties, and though proof of this kind is an inferior kind of testimony, yet cohabitation as husband and wife may be so open, public and continued as to afford evidence of most convincing character in favor of the existence of the contract. Hill v. Burger, 3 Bradf. Surr. 432.
It is entirely competent to prove marriage by cohabitation (with general review of the authorities). O’Gara v. Eisenlohr, 38 N. Y. 296.
Hearsay and traditional evidence is competent to prove a marriage when it is the best the nature of the case will admit of. It is not conclusive, but may establish, prima facie, sufficient for the administration or devolution of property, that there was either a formal marriage, which cannot otherwise be proved, or that the parties agreed per verba de presenti to a marriage which was followed by cohabitation. Chamberlain v. Chamberlain, 71 N. Y. 423.
A marriage may be proved by cohabitation as man and wife in all cases except in cases of bigamy and criminal conversation. Commonwealth v. Littlejohn, 15 Mass. 163.
PRESUMPTION HELD TO EXIST.
An actual marriage may be inferred, in ordinary cases, from cohabitation, acknowledgment of the parties, etc. Fenton v. Heed, 4 Johns. 52.
A contract of marriage made per verba de presentí amounts to actual marriage, and is valid, when between persons capable of contracting. Star v. Peck, 1 Hill, 270.
Where a man and a" woman under claim of being married, at a particular time and place, kept house and cohabited publicly as husband and wife for ten years, two children having been born during the connection, held that the circumstances were sufficient to raise the presumption of marriage notwithstanding the ceremonial nuptials claimed to have taken place, might be disproved. Tummalty v. Tummalty, 3 Bradf. Surr. 369.
Where the intestate and the party claiming to be his widow lived together as man and wife for four years, and had three children; there was open profession of the marital relation, general reputation and reception among their associates, intimates, and relatives, as husband and wife, held, that notwithstanding the claimant, who voluntarily submitted to an examination under oath, on being called by the opposing party, admitted that there had been no ceremonial marriage, there were facts sufficient to raise a presumption of a marriage in fact. Grotgen v. Grotgen, 3 Bradf. Surr. 373.
*188Where the cohabitation has been meretricious in its inception, there must be evidence to show that its character was subsequently changed, but it is not indispensable to prove a ceremonial marriage. If there is-enough to satisfy the court that the parties recognize new relations and held themselves out to the world and to their associates as husband and wife, if they by their conduct and declarations professed to be bound by marital ties, and thus exhibited the continuation of their cohabitation upon a different footing from what it had formerly been, the conclusion may be in favor of a marriage, notwithstanding there was no formal solemnization. Hyde v. Hyde, 3 Bradf. Surr. 509.
Where a woman innocently and in good faith goes through a marriage-ceremony in this country with a man whose wife is then living abroad and after the death of the latter in 1877 and until the death of the man thirteen years later the parties live together as husband and wife and are so regarded by their friends, the court will presume from the cohabitation after the legal wife’s death that a common law marriage took place-between the parties. Matter of Schmidt, 42 Misc. 463.
PRESUMPTION HELD NOT TO EXIST.
Cohabitation, and the declarations of the parties, are prima facie evidence of marriage, but where without any apparent rupture, the parties-after a cohabitation of about two years, separated, nearly forty years before the commencement of the action, and continued separate, without any claim or pretension on each other as husband and wife, it seems that the presumption of marriage arising from the previous cohabitation will be rebutted. Jackson v. Claw, 18 Johns. 346.
The mere fact of a man and a woman living together in illicit intercourse is wholly insufficient to raise presumption of marriage. Rose v. Clark, 8 Paige, 574.
Where parties are living in a meretricious state, a promise to marry on a future condition, does not effect a marriage by mere continuation of that connection. 2 Bradf. Surr. 424; Turpin v. Public Administrator, 2 Bradf. Surr. 434.
Where no promise of any kind was proved, except that the claimant declared after the decedent’s death, that she was not married to him, but he had said that he had some trouble on his mind, and when that was-settled would marry her; and where the parties, though having connection and children, did not live together, but their relation was clandestine, and there was no open acknowledgment or common reputation, and both parties denied marriage, held, that there was not sufficient in the-circumstances from which to infer marriage. Turpin v. Public Administrator, 2 Bradf. Surr. 434.
*189A contract to marry per verba de futuro, though followed by cohabitation, held not to effect a marriage in fact (the dictum of Cowen, J., in Starr v. Peck, 1 Hill, 224, to the contrary disapproved). Cheney v. Arnold, 15 N. Y. 345.
Where there has been no cohabitation or acknowledgment, or mark of relationship, but parties lived as single persons, and the alleged contract was first announced after the alleged husband’s death, held, that there was no presumption in favor of marriage, but against it. Cunningham v. Burdell, 4 Bradf. Surr. 343.
Under the rule that a connection confessedly illicit in its origin or shown to have been such, will be presumed to retain that character until some change is established, it is not essential in order to establish that change, to show the precise time or occasion thereof; it is sufficient if the facts show that a change must have occurred transforming the illicit intercourse into cohabitation matrimonial in its character. Badger v. Badger, 88 N. Y. 547.
PRESUMPTION, HOW REBUTTED.
The presumption of marriage which arises from cohabitation, it seems, is repelled by proof that the connection of the parties was illicit in its origin. Clayton v. Wardell, 4 N. Y. 230.
SINGE STATUTE ABOLISHING COMMON-LAW MARRIAGES.
Where subsequent to an interlocutory judgment of divorce and prior to final judgment, the guilty husband contracts an alleged marriage in a foreign state, the fact that the parties to the second marriage live together after the entry of final judgment, does not constitue a ratification of the void marriage, as such marriage is not the subject of ratification, nor does it constitute the making of a new contract of marriage, it appearing that such cohabitation did not take place until after the statute abolishing the so-called parol common-law marriages had taken effect. Pettit v. Pettit, 105 App. Div. 312.
